
“ The court is of opinion that the decree is erroneous, so far as it relates to the slaves Little fenny and Sylvia, and their increase; inasmuch as, by a decree made the 25th day of May, 1790, in a suit between the same parties, the deed of settlement made the 14th day of March, 1774, in which the said slaves Little fenny and Sylvia are mentioned, was declared fraudulent, as to the appellant Lewis Holliday, and the bill of the appellees dismissed with costs ; which this court considers a complete bar to any claim of the appellees under the said deed of settlement. And, as to the slaves claimed by the appellees under the will of Zachary Lewis, this court discovers no sufficient ground to rule the appellant Lewis Holliday to. give bond and security for their forthcoming after the death of Betty Holliday” (1)
Decree reversed, and bill dismissed with costs.

 Note. The plaintiffs demanded, in the suit, in which the decree of May 25, 1790, was made, security for the forthcoming of the negroes; and a variety of testimony was taken on the subject of Holliday’s intention, at that time, to remove to Georgia, but, in the last suit, there was no demand of such security, in either of the bills; nor any evidence that Holliday intended to remove.

